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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 UNITED STATES OF AMERICA,                            CR 15-32-M-DWM
                      Plaintiff,
                                                            ORDER
        vs.


 ERIC DANIEL DOYLE,

                      Defendant.




      On December 21, 2017, Defendant Eric Doyle appeared before the Court for

a second hearing, based on new information that was not previously available, on

the issue of his release or detention pending further proceedings in this matter.

Having considered the testimony presented, the record before the Court, and the

parties’ arguments, the Court finds, by a preponderance of the evidence, that

Defendant poses a risk of flight.

      The Court has authority to detain a criminal defendant pending a trial in the

matter if the Court “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any

other person and the community[.]” 18 U.S.C. § 3142(e). The standard of proof


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necessary to support a finding that no conditions will reasonably ensure the

defendant’s appearance, however, is the preponderance of the evidence standard.

United States v. Aitken, 898 F.2d 104, 107 (9th Cir. 1990). The United States bears

the burden of proof to meet this standard

      As the Court noted following Defendant’s first hearing, Defendant has a

somewhat extensive criminal history with three felony convictions. That history,

together with the present charges Defendant faces, could subject him to a

significant term of incarceration.

      The record in this case also reflects that Defendant traveled to Mexico

shortly after becoming aware that a criminal investigation of him had commenced

relative to the charges in the Indictment filed in this matter. The testimony

presented at the hearing causes the Court further concern relative to the issue of

Defendant’s flight because it is evident that the procedures for entering Mexico at

Nogales, Mexico are very lax and allow a person, such as Defendant, to enter

Mexico both figuratively and literally “at the push of a button.”

      Additionally, Defendant’s testimony establishes that after entering Mexico

he lived there for approximately 2 years, again with his awareness of the criminal

investigation. He has developed significant familiarity with Mexico and the

available means of travel around Mexico and to international waters.

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      Thus, the Court finds the United States has sustained its burden of

demonstrating, by a preponderance of the evidence, that no set of conditions could

be imposed on Defendant that would assure his appearance in Court as required.

Therefore, pursuant to 18 U.S.C. § 3142(e) IT IS HEREBY ORDERED the

Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody

pending appeal. The Defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States

or on request of an attorney for the Government, the person in charge of the

corrections facility shall deliver the Defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

      DATED this 21st day of December, 2017.



                                              Jeremiah C. Lynch
                                              United States Magistrate Judge




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